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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. GLR-17-631
                                                *
 NGHIA PHO,                                     *
                                                *
                Defendant                       *
                                                *
                                            ********

                           GOVERNMENT’S MOTION TO SEAL

       The United States of America, by and through the undersigned attorneys, hereby moves

for an order sealing the Government’s Response in Opposition to Defendant’s Motion for

Sentencing Reduction. The filing contains the defendant’s private medical information.

       In order to seal the opposition brief, “the government must demonstrate that: 1) there is a

compelling governmental interest requiring materials to be kept under seal; and 2) there is no less

restrictive means, such as redaction, available.” In re Search Warrants Issued on April 26, 2004,

353 F. Supp. 2d 584, 591 (D. Md. 2004) (citing United States v. Oliver, No. 99-4231, 2000 U.S.

App. LEXIS 3630, at *4 (4th Cir. Va. Mar. 9, 2000)). Here, there is a compelling interest in

maintaining certain material under seal. The Government anticipates being able to file a redacted

document on the public docket, after consultation with defense counsel.
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        The procedures for sealing are set forth in Baltimore Sun Co. v. Goetz, 886 F.2d 60 (4th

Cir. 1989): “The judicial officer may explicitly adopt the facts that the government presents to

justify the sealing . . . .” Id. at 65.




                                              Respectfully Submitted,


                                              Robert K. Hur
                                              United States Attorney

                                          By: /s/
                                              Thomas P. Windom
                                              Assistant United States Attorney
